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                    JOINT STIPULATION OF SETTLEMENT AND RELEASE

           This Joint Stipulation of Settlement and Release (“Agreement”) is entered into between

    Simply Right, Inc. (“Simply Right”), Daniel Kilgore, and Beatrice Permann (collectively,

    “Defendants”), on the one hand, and Clara Arreola, Jose Luis Arreola, Maribel Arreola, Nazario

    Arreola, Armida Raya, Domingo Sanchez, Miguel Angel Godoy, and Aurelio Sanchez (“Current

    Plaintiffs”), on behalf of themselves individually and on behalf of a collective group of similarly

    situated individuals, on the other hand.

           Defendants and the Current Plaintiffs (collectively the “Settling Parties”) agree to do all

    things and procedures reasonably necessary and appropriate to obtain approval of this Agreement

    in consideration for: (a) payment by Simply Right of the consideration expressed in this

    Agreement subject to the terms, conditions and limitations of this Agreement; (b) the release and

    dismissal with prejudice of all claims as set forth in this Agreement; and (c) other valuable

    monetary and non-monetary consideration as set forth in this Agreement. This Agreement is

    contingent upon approval by the Court and is entered into voluntarily by the Settling Parties for

    settlement purposes only.

                                                   RECITALS

           WHEREAS, on May 7, 2015, the Current Plaintiffs filed a lawsuit in the United States

    District Court for the District of Colorado, Sanchez, et al. v. Simply Right, et al., Case No. 15-cv-

    00974-RM-MEH (the “Litigation”), asserting claims against Defendants under the Fair Labor

    Standards Act (“FLSA”), 29 U.S.C. § 201 et seq., based on the alleged failure to pay minimum

    wage and/or overtime compensation to the Current Plaintiffs and others similarly situated; and




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              WHEREAS, the purpose of this Agreement is to settle fully and finally all Released

       Claims (as hereinafter defined) that Current Plaintiffs and any individuals who opt in to the

       Litigation may have against Defendants; and

              WHEREAS, Defendants deny that they have committed any wrongdoing or violated any

       federal, state or local laws pertaining to payment of wages, and further deny that they are liable

       or owe minimum wages or any overtime compensation to anyone with respect to the alleged

       facts or causes of action asserted in the Litigation; and

              WHEREAS, on August 31, 2017, the Settling Parties participated in a settlement

       conference of this matter with U.S. Magistrate Judge Michael E. Hegarty and reached an accord

       resulting in this Agreement; and

              WHEREAS, the Settling Parties agreed to settle and resolve any and all claims that

       could be asserted in the Litigation pursuant to the terms of this Agreement, in order to avoid the

       burden, expense, risks and uncertainty of litigation.

              NOW, THEREFORE, in consideration of the mutual covenants and promises set forth

       in this Agreement, as well as the good and valuable consideration provided for herein, and

       intending to be legally bound, the Settling Parties hereto agree to a full and complete settlement

       of the Litigation and release of claims on the following terms and conditions:

  I.          SETTLEMENT APPROVAL PROCEDURE

              A.      On or before September 30, 2017, the Settling Parties agree to file a Joint Motion

       for Approval of Settlement (“Joint Motion for Approval”), attaching this Settlement Agreement

       and the Notice of Settlement, advising the Potential Opt-In Plaintiffs (as defined below) of the

       material terms and provisions of this settlement, the procedure for submitting the Consent to Join



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        Claim Form, and their rights with respect to this settlement. The Joint Motion for Approval will

        seek the Court’s entry of a Preliminary Approval Order approving the notice and opt-in

        procedure set forth below and preliminarily approving this Settlement Agreement. After the

        Helper Claim Bar Date or Remailing Opt-In Period (whichever is later) (as defined in Section

        II.A., below), the Settling Parties will file a joint motion for final approval of the settlement.

               B.      Potential Opt-In Plaintiffs shall include those individuals who worked for Simply

        Right cleaning Cinemark movie theatres outside California, as well as any non-employees those

        individuals brought with them to help them clean, any time between September 7, 2014 and the

        date on which the Notice of Settlement is mailed.

               C.      The Settling Parties shall cooperate and present to the Court for its consideration

        in connection with the approval of the Agreement and Court-facilitated notice such information

        as may be requested by the Court for approving this Agreement and Court-facilitated notice.

  II.          MODE, CALCULATION AND TIMING OF PAYMENT OF CLAIMS

               A.      Notice of Claims

                       1.     Upon the Court’s entry of the Preliminary Approval Order, Simply Right

        shall provide the Settlement Claims Administrator with an Excel spreadsheet listing the names,

        last known addresses, and dates of employment of the Potential Opt-In Plaintiffs, as that

        information exists on file with Simply Right. Prior to the mailing of the Notice of Settlement to

        the Potential Opt-In Plaintiffs, the Settlement Claims Administrator shall attempt to confirm the

        accuracy of the addresses through the United States Post Office’s National Change of Address

        database and shall mail the Notice of Settlement to any updated address obtained therefrom.




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                   2.    Within one month of the Court’s entry of the Preliminary Approval Order,

    the Settlement Claims Administrator shall mail to the Potential Opt-In Plaintiffs, via First Class

    U.S. Mail, in one mailing, the Notice of Settlement in the form attached hereto as Exhibit A, in

    English and Spanish, with an enclosed, postage-paid return envelope. Also within one month of

    the Court’s entry of the Preliminary Approval Order, Simply Right shall include in the paycheck

    envelope of any Potential Opt-In Plaintiff who is a current employee who is paid by live check, a

    Notice of Settlement in the form attached hereto as Exhibit A, in English and Spanish, with an

    enclosed, postage-paid return envelope. The envelope in which the Notice of Settlement is

    mailed shall state, in English and Spanish, “Important Information Regarding Your Legal

    Rights.”   The Potential Opt-In Plaintiffs will be provided, in English and Spanish, with a

    summary of the basis for settlement in the Notice of Settlement and told that in order to receive

    any monetary proceeds of the settlement, the original, properly-executed and completed Consent

    to Join Claim Form and Release must be postmarked or received by mail, email, or facsimile by

    the Settlement Claims Administrator on or before sixty (60) days after the date the Notices of

    Settlement were initially mailed to the Potential Opt-In Plaintiffs (the “Employee Claim Bar

    Date”). The Potential Opt-In Plaintiffs also will be directed to provide contact information for

    any non-employees who helped them clean (“Helpers”). Within one week of the Employee

    Claim Bar Date, the Settlement Claims Administrator shall mail to the Helpers, via First Class

    U.S. Mail, in one mailing, the Helper Notice of Settlement in the form attached hereto as Exhibit

    B, in English and Spanish, with an enclosed, postage-paid return envelope. The envelope in

    which the Notice of Settlement is mailed shall state, in English and Spanish, “Important

    Information Regarding Your Legal Rights.” The Helpers will be provided, in English and



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    Spanish, with a summary of the basis for settlement in the Notice of Settlement and told that in

    order to receive any monetary proceeds of the settlement, the original, properly-executed and

    completed Consent to Join Claim Form and Release must be postmarked or received by mail,

    email, or facsimile by the Settlement Claims Administrator on or before sixty (60) days after the

    date the Helper Notices of Settlement were initially mailed to the Helpers (the “Helper Claim

    Bar Date”). To the extent there are matters not covered in the Notice of Settlement that are

    covered in this Agreement, or to the extent the Notices of Settlement are inconsistent with this

    Agreement, this Agreement shall govern and control.

                   3.    In the event that Plaintiffs’ Counsel or the Settlement Claims Administrator

    is contacted by a Potential Opt-In Plaintiff before the Employee Claim Bar Date and the

    Potential Opt-In Plaintiff indicates that he or she did not receive the Notice of Settlement, the

    Settlement Claims Administrator shall mail an additional Notice of Settlement to the mailing

    address provided by the Potential Opt-In Plaintiff and any such person shall be permitted thirty

    (30) days from any re-mailing of the Notice to submit their claim form (“Re-mailing Opt-in

    Period”) if such period exceeds the original sixty (60) day Notice period.

                   4.    In the event any Consent to Join Claim Form and Release is timely

    submitted but does not contain a signature or sufficient information to identify the Potential Opt-

    In Plaintiff or Helper, the Settlement Claims Administrator shall promptly provide the Potential

    Opt-In Plaintiff or Helper within seven (7) business days with a letter requesting the information

    that was not provided and giving the Potential Opt-In Plaintiff or Helper twenty-one (21) days

    from the mailing of such cure letter to respond if such period exceeds the original sixty (60) day




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    Notice period. Any Potential Opt-In Plaintiff or Helper who fails to respond timely to a cure

    letter, will not be considered a Qualified Claimant (as defined below).

                   5.    In the event of any dispute over a Potential Opt-In Plaintiff’s or Helper’s

    dates of employment, eligibility to make a claim as an Opt-In Plaintiff or Helper and/or the late

    submission of any claims, the Settling Parties will meet and confer in good faith in an effort to

    resolve the dispute, and if the Settling Parties are unable to reach an agreement, they will submit

    the dispute to Magistrate Judge Hegarty for resolution. Magistrate Judge Hegarty’s decision as to

    any such dispute will be final; however, to the extent a claim is submitted late for which there is

    a good faith explanation to support the untimely submission, it will be presumed that the

    Settlement Claims Administrator and the Settling Parties will accept same. Additionally, in the

    case of a dispute over a Potential Opt-In Plaintiff’s or Helper’s dates of employment, Simply

    Right’s records shall control (including, for Helpers, the records of the dates of employment of

    the employee whom the Helper helped clean) and will have a rebuttable presumption of

    correctness.

                   6.    All Potential Opt-In Plaintiffs and Helpers who timely return completed

    and executed Consent to Join Claim Forms and Releases, will be considered “Qualified

    Claimants” entitled to receive their finalized share of the Net Settlement Fund (as defined in

    paragraph II(E)(1) below).

                   7.    Within fifteen (15) days after the Helper Claim Bar Date or Remailing Opt-

    In Period (whichever is later), the Settlement Claims Administrator shall provide to Defendants’

    Counsel and Plaintiffs’ Counsel a list of Qualified Claimants and shall provide electronic copies

    of all timely received and completed Consent to Join Claim Forms and Releases.



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                   8.    At the conclusion of the settlement administration process, the Settlement

    Claims Administrator shall maintain an electronic copy of all Consent to Join Claim Forms and

    Releases received by the Potential Opt-In Plaintiffs and Helpers and shall provide the original

    Consent to Join Claim Forms and Releases to Counsel for Defendants. The Settlement Claims

    Administrator shall also provide Defendants’ Counsel and Plaintiffs’ Counsel a register listing all

    Qualified Claimants and the payment amount made to each Qualified Claimant, including the

    amount of tax withholdings and the employer’s share of payroll taxes.

           B.      Simply Right’s Payment Obligations

                   1.    Gross Fund.     In consideration for the dismissal with prejudice of the

    Litigation as well as the release of claims effected by this Agreement and other good and

    valuable consideration, Simply Right shall pay a total of Two Hundred Twenty-Five Thousand

    Dollars ($225,000.00) (the “Gross Fund”) to settle the Litigation, unless Simply Right files for

    bankruptcy prior to making all payments into the Gross Fund. Subject to the terms of this

    Agreement, the Gross Fund is inclusive of payment for: (1) all settlement amounts to be paid to

    all Qualified Claimants, or their respective authorized legal representatives; (2) all Current

    Plaintiff Payments (as defined in paragraph II(E)(3) below) approved by the Court; (3) all

    Attorneys’ Fees (as defined in paragraph II(E)(4) below) approved by the court for Plaintiffs’

    Counsel; (4) one-half of Settlement Administration Costs (as defined in paragraph II(C)(4)

    below) incurred by the Settlement Claims Administrator, including all costs in connection with

    the Settlement Fund (as defined in paragraph II(D)(1) below); (5) the Qualified Claimants’ share

    of applicable federal, state and local taxes required to be withheld by Simply Right; and (6) the

    Employer’s Share of Payroll Taxes (as defined below) required to be paid by Simply Right. The



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    Gross Fund is the maximum amount Simply Right or Released Parties (as defined below) shall

    pay to settle the Litigation. The other half of the Settlement Administration Costs not included

    in the Gross Fund will be paid separately by the Defendants. This is a non-reversionary

    settlement.

                   2.    Timing of Payment.       Within one month of the Court’s order approving the

    Joint Motion for Approval, Simply Right will make a payment of Thirty Thousand Dollars

    ($30,000.00) (“Initial Payment”) by wire transfer to a Qualified Settlement Fund (“QSF”)

    established by the Settlement Claims Administrator (“Initial Payment Date”).         Each month

    thereafter, for the next thirteen (13) months, unless Simply Right has filed for bankruptcy,

    Simply Right will make a payment of Fifteen Thousand Dollars ($15,000.00) by wire transfer to

    the QSF. Therefore, the final payment (“Final Payment”) shall be made fourteen (14) months

    after the Court’s entry of the Preliminary Approval Order (“Final Payment Date”). In the event

    Simply Right files for bankruptcy prior to the Final Payment Date (“Bankruptcy Filing”), Simply

    Right will cease making payments under this Agreement as of the Bankruptcy Filing date, and

    payment out of the Gross Fund as funded as of the bankruptcy date will be accelerated. The

    Settling Parties agree to confer in the event of a Bankruptcy Filing regarding acceleration of the

    payment dates set forth in this Agreement.

           C.      Settlement Claims Administration

                   1.     Simply Right will retain JND Class Action Administration (“Settlement

    Claims Administrator”) as the settlement administrator to: (a) provide notice of the settlement to

    Potential Opt-In Plaintiffs and Helpers; (b) receive and review the Consent to Join Claim Forms

    and Releases submitted by Potential Opt-In Plaintiffs and Helpers to determine eligibility for



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    payment; (c) set up and administer a qualified settlement fund to disburse all settlement

    payments; (d) calculate settlement amounts for each Qualified Claimant; (e) calculate and make

    all payroll tax and other withholdings, including the employer’s share of such taxes and

    withholdings; (f) distribute settlement checks; (g) address any questions from Potential Opt-In

    Plaintiffs and Helpers; (h) prepare and mail all necessary IRS forms; and (i) perform any other

    duties that are necessary to effectuate the Agreement.

                   2.     Throughout the period of claims administration, the Settlement Claims

    Administrator will provide reports to the Settling Parties upon request by either Settling Party

    regarding the status of the mailing of the Notice of Settlement to Potential Opt-In Plaintiffs and

    Helpers, the claims administration process, the receipt of Consent to Join Claim Forms and

    Releases, and distribution of the Settlement Checks or any other aspect of the claims

    administration process.

                   3.     The Settling Parties will cooperate to resolve any issues identified by the

    Settlement Administrator.

                   4.     One half of the fees, expenses, and costs of the Settlement Claims

    Administrator related directly or indirectly to its duties under this Agreement, including but not

    limited to one-half of all fees, expenses, and costs in connection with the Gross Fund and

    Settlement Fund, and those duties related to notice, check cutting and mailing, claims processing,

    reports to counsel, court filings, legal and accounting advice relating to the establishment of the

    Qualified Settlement Fund and tax treatment and tax reporting of awards to Qualified Claimants,

    preparation of tax returns (and the taxes associated with such tax returns as defined below),

    calculating the estimated settlement payments and final settlement payment amounts, and any



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   other related duties (hereinafter collectively referred to as the “Settlement Administration

   Costs”) shall be paid from the Settlement Fund after court approval. The other half of the

   Settlement Administration Costs shall be paid by Simply Right separately from the Settlement

   Fund.

           D.     Creation and Implementation of a Qualified Settlement Fund

                  1.     Establishing the Qualified Settlement Fund.     The Gross Fund will be

   deposited in an account titled Simply Right Settlement Fund (the “Settlement Fund”), intended

   by the Settling Parties to be a “Qualified Settlement Fund” as described in Section 468B of the

   Internal Revenue Code of 1986, as amended, and Treas. Reg. Section 1.468B-1, et seq. The

   Settlement Fund shall be established as a Qualified Settlement Fund within the meaning of

   Section 468B of the Internal Revenue Code of 1986, as amended, the Treas. Reg. Section

   1.468B-1, et seq., and shall be administered by the Settlement Claims Administrator, subject to

   the ultimate authority of the Court.

                  2.     Administering the Settlement Fund. The Settlement Claims Administrator

   shall serve as Trustee of the Settlement Fund and shall act as a fiduciary with respect to the

   handling, management, and distribution of the Settlement Fund, including the handling of tax-

   related issues and payments.      The Settlement Claims Administrator shall act in a manner

   necessary to qualify the Settlement Fund as a Qualified Settlement Fund and to maintain that

   qualification. The Settling Parties shall cooperate to ensure such treatment and shall not take a

   position in any filing or before any tax authority inconsistent with such treatment. The Settling

   Parties agree to any relation-back election required to treat the Settlement Fund as a Qualified

   Settlement Fund from the earliest possible date.



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                  3.     Tax Withholding and Reporting - Employment Taxes. The Settling Parties

   recognize that the back pay awards to Qualified Claimants will be subject to applicable tax

   withholding and reporting and employer payroll taxes. The Settlement Claims Administrator

   shall be responsible for withholding and timely remitting and reporting to the appropriate taxing

   authorities the employee’s share of payroll taxes from the back wage/payment of each Qualified

   Claimant and shall be responsible for paying the employer’s share of all state and federal payroll

   taxes or contributions imposed by applicable law (i.e. the employer’s share of all FICA, FUTA,

   SUTA, Medicare, and/or state unemployment taxes, collectively referred to herein as the

   “Employer’s Share of Payroll Taxes”) for the back wage payment of each Qualified Claimant (as

   described in paragraph III(B)(6) above) from the Settlement Fund, as calculated and deducted

   from the Gross Fund prior to calculation of the Current Plaintiffs’ and Qualified Claimants’

   individual settlement payment amounts.        Subject to the Settlement Claims Administrator’s

   obligation to comply with applicable laws, the Settling Parties anticipate that any amounts

   designated as liquidated damages or interest shall not be subject to withholding and shall be

   reported to the IRS on Form 1099.

                  4.     Other    Payments     and      Indemnification.   The    Settlement   Claims

   Administrator shall satisfy from the Settlement Fund: all federal, state, local, and other reporting

   requirements (including any applicable reporting with respect to attorneys’ fees and other costs

   subject to reporting) and any and all taxes, penalties and other obligations with respect to the

   payments or distributions not otherwise addressed in this Agreement. The Settlement Claims

   Administrator shall indemnify the Settling Parties for any penalty or interest arising out of an

   incorrect calculation or late deposit of the same.



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                  5.    Communication with Simply Right and Counsel. Simply Right, Simply

   Right’s Counsel, and Plaintiffs’ Counsel are authorized to communicate directly with the

   Settlement Claims Administrator to expedite the settlement administration process.

          E.      Allocation of the Settlement Fund

                  1.    Net Settlement Fund. The “Net Settlement Fund” means the remainder of

   the Gross Fund after deductions for: (i) the Current Plaintiff Payments awarded by the Court; (ii)

   Attorneys’ Fees awarded by the Court; and (iii) one-half of the Settlement Administration Costs.

                  2.    Allocation of Net Settlement Fund to Qualified Claimants.

               a) The Net Settlement Fund shall be allocated to the Qualified Claimants on a pro

                  rata basis based on the total number of Qualifying Work Weeks for each

                  Qualified Claimant during the time period covered by this Agreement.             A

                  “Qualifying Work Week” is a work week in which a Qualified Claimant worked

                  for Simply Right cleaning a Cinemark theater outside California, or helped a

                  Simply Right employee or independent contractor clean a Cinemark theater

                  during the time covered by this Agreement. This formula shall be employed by

                  the Settlement Administrator whether very few or very many Potential Opt-In

                  Plaintiffs and Helpers submit Claim Forms.

               b) Simply Right’s records will be used to determine the number of Qualifying Work

                  Weeks for those Qualified Claimants for which Simply Right has records of

                  paying.

               c) For Qualified Claimants Simply Right has no record of paying, Qualifying Work

                  Weeks will be the lesser of: (1) the number of Qualifying Work Weeks the



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                  Qualified Claimant claims on the claim form; or (2) the number of Qualifying

                  Work Weeks of the Simply Right employee or independent contractor who

                  brought the Qualified Claimant to work as a helper.

                  3.     Current Plaintiff Payments. Thirty-three percent (33%) of the Gross Fund

   shall be allocated to Current Plaintiffs (“Current Plaintiff Fund”). Current Plaintiffs shall not

   participate in the claims process for Qualified Claimants and shall be paid only from the Current

   Plaintiff Fund as stated in this paragraph. The Settlement Claims Administrator shall calculate

   the individual settlement payment amounts for the Current Plaintiffs as follows:

                       a) Seventeen percent (17%) of the Current Plaintiff Fund to Jose Luis

                          Arreola;

                       b) Seventeen percent (17%) of the Current Plaintiff Fund to Clara Arreola;

                       c) Sixteen percent (16%) of the Current Plaintiff Fund to Aurelio Sanchez;

                       d) Sixteen percent (16%) of the Current Plaintiff Fund to Domingo Sanchez;

                       e) Eleven percent (11%) of the Current Plaintiff Fund to Miguel Angel

                          Godoy;

                       f) Eleven percent (11%) of the Current Plaintiff Fund to Armida Raya;
                       g) Six percent (6%) of the Current Plaintiff Fund to Nazario Arreola;

                       h) Six percent (6%) of the Current Plaintiff Fund to Maribel Arreola.

   These payments will be distributed by the Settlement Claims Administrator in two payments, the

   first occurring within ten (10) days after the Initial Payment Date, and the second occurring

   within ten (10) days after the Final Payment Date.

                  4.     Attorneys’ Fees. Plaintiffs’ Counsel shall make an application to the Court

   for an award of attorneys’ fees in the amount of twenty-two percent (22%) of the Gross Fund




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   (the “Attorneys’ Fees”).    Simply Right will not oppose Plaintiffs’ Counsel’s motion for

   Attorneys’ Fees. The settlement is not conditioned upon the Court’s approval of Plaintiffs’

   Counsel’s petition for Attorneys’ Fees in the stated amounts, and any amounts that are not

   approved for attorneys’ fees shall become part of the Net Settlement Fund. Payment of such

   approved attorneys’ fees to Plaintiffs’ Counsel shall be made in accordance with this Agreement

   and shall constitute full satisfaction of any and all obligations by Defendants to pay any person,

   attorney or law firm for attorneys’ fees, expenses or costs incurred on behalf of the Current

   Plaintiffs, any Potential Opt-In Plaintiffs, any Helpers, and any Qualified Claimants.        The

   Settlement Claims Administrator shall report the payment of these fees to Plaintiffs’ Counsel on

   an IRS Form 1099. Within ten (10) days after the later of: (a) the Final Payment Date, or (b) the

   date the Court has approved an award of fees to Plaintiffs’ Counsel, the Settlement Claims

   Administrator shall pay to Plaintiffs’ Counsel by wire transfer the amount of Attorneys’ Fees

   approved and ordered by the Court.

          F.      Payments to Qualified Claimants

                  1.    Timing of Payments. Within thirty (30) days after the Helper Claim Bar

   Date or Remailing Opt-In Period (whichever is later), the Settlement Claims Administrator will

   calculate the settlement awards for the Qualified Claimants (“Individual Settlement Payment”)

   and shall provide a copy of such calculations to Plaintiffs’ Counsel and Defendants’ Counsel.

   The Settlement Claims Administrator will transmit the Individual Settlement Payments to the

   Qualified Claimants by first-class U.S. Mail to the last known address for each Qualified

   Claimant, or such other address provided by the Qualified Claimant to the Settlement Claims




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   Administrator, within ten (10) days after the Final Payment Date, in accordance with the

   withholding and reporting requirements set forth below.

                 2.     Taxes on the Current Plaintiff Payments and Individual Settlement

   Payments. The Current Plaintiff Payments attributed to the Current Plaintiffs and the Individual

   Settlement Payments attributed to the Potential Opt-In Plaintiffs and Helpers who timely submit

   Consent to Join Claim Forms and Releases and become Qualified Claimants shall be allocated

   50% to back wages and 50% to liquidated damages and interest. The back wages shall be

   subject to all required employee-paid payroll taxes (federal income taxes, state income taxes,

   employee’s share of FICA and FUTA taxes, and other state or local-specific statutory

   deductions) and other authorized or required deductions (garnishments, tax liens, child support,

   etc.). The liquidated damages and interest and shall be treated as non-wage income to the

   Current Plaintiffs and Qualified Claimants. The Settlement Claims Administrator shall report

   the back wage payments to the Internal Revenue Service (“IRS”) on IRS Form W-2 and shall

   report the liquidated damages and interest on IRS Form 1099.

                 3.     Tax Advice. Current Plaintiffs acknowledge and agree that they have not

   relied upon any advice from Simply Right or Plaintiffs’ Counsel as to the taxability of the

   payments received pursuant to this Agreement.

                 4.     Negotiation of Settlement Checks.         Current Plaintiffs and Qualified

   Claimants will have one hundred twenty (120) days after the date on the settlement checks (the

   "Check Issuance Date") in which to negotiate the checks. If any Current Plaintiff or Qualified

   Claimant does not negotiate his or her settlement check within 120 days after the Check Issuance

   Date, the check will be void and the gross amount of the Individual Settlement Payment shall be



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      returned to the Settlement Claims Administrator. If more than five percent (5%) of the Gross

      Fund is returned to the Settlement Claims Administrator, the Settlement Claims Administrator

      shall perform a second calculation of settlement awards to Qualified Claimants using the same

      methodology as the original calculation and shall issue a second set of Individual Damages

      Payments to those Qualified Claimants who negotiated their settlement checks. If five percent

      (5%) or less of the Gross Fund is returned to the Settlement Administrator, that amount shall be

      paid as an award to cy pres beneficiary El Centro Humanitario de los Trabajadores.

                     5.      In the event that no Potential Opt-In Plaintiffs or Helpers timely return

      Claim Forms, the Settlement Claims Administrator shall perform a second calculation of

      settlement awards to Current Plaintiffs using the same methodology as the original calculation

      and shall issue a second set of Individual Damages Payments to Current Plaintiffs.


III.         DISMISSAL OF LAWSUIT

                      Following the Court’s final approval of the settlement, the Settling Parties will

      file a joint motion for dismissal of the Lawsuit. This motion will be filed within ten (10) days

      after the Court’s final approval of the settlement or as otherwise directed by the Court.

IV.          RELEASE

             A.      Release By Current Plaintiffs and Qualified Claimants. Conditioned upon the

      Court’s entry of the Preliminary Approval Order, and in exchange for the monetary consideration

      recited in this Agreement, the Current Plaintiffs, and all Qualified Claimants who timely execute

      and return a Consent to Join Claim Form and Release, shall waive, release and forever discharge

      Simply Right, Cinemark USA, Inc., Daniel Kilgore, and Beatrice Permann, including their

      parents, subsidiaries, affiliates, predecessors, successors and assigns, and each of their respective



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      past and present officers, directors, agents, representatives, attorneys and employees

      (collectively, the “Released Parties”) from any and all minimum wage and overtime claims, and

      related claims for penalties, interest, liquidated damages, attorneys’ fees, costs, and expenses,

      under federal and applicable state and local law that arise from their cleaning of Cinemark

      theatres outside California through the date of mailing of the Notice of Settlement, relating back

      to the full extent of the federal and state statutes of limitations (“Released Claims”).

             B.       Effect of Simply Right Bankruptcy on Release. In the event that Simply Right

      files for bankruptcy prior to the Final Payment, the releases set forth in this Agreement shall not

      affect the right of Current Plaintiffs and/or Qualified Claimants to pursue such payments from

      Simply Right through the bankruptcy court. If Simply Right files for bankruptcy after the Initial

      Payment but before the Final Payment, the release of claims as to the other Released Parties shall

      remain in full force and effect, and the Current Plaintiffs and Qualified Claimants shall have no

      right to any monetary recovery from the other Released Parties. However, if Simply Right files

      for bankruptcy before making the Initial Payment, this Agreement shall not affect the Current

      Plaintiffs’ and/or Qualified Plaintiffs’ right to seek to enforce this Agreement against Daniel

      Kilgore and Beatrice Permann.

 V.          NOTICES

             All notices, requests, demands and other communications required or permitted to be

      given pursuant to this Agreement shall be in writing and shall be delivered personally or mailed,

      postage prepaid, by first-class mail to the undersigned persons at their respective addresses as set

      forth herein:




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      Counsel for Plaintiffs:                       Brandt Milstein, Esq.
                                                    Milstein Law Office
                                                    1123 Spruce Street
                                                    Boulder, CO 80302
                                                    Tel: 303.440.8780
                                                    Fax: 303.957.5754


      Counsel for Simply Right:                     Joshua B. Kirkpatrick, Esq.
                                                    Littler Mendelson, P.C.
                                                    1900 16th St., Suite 800
                                                    Denver, CO 80202
                                                    Tel: 303.629.6200
                                                    Fax: 303.629.0200

VI.          REPRESENTATION BY COUNSEL

             All of the Settling Parties acknowledge that they have been represented by counsel

      throughout all negotiations that preceded the execution of this Agreement and that this

      Agreement has been executed with the consent and advice of counsel.

VII.         NO ADMISSION OF LIABILITY

             Defendants enter into this Agreement to avoid further expense and disruption to Simply

      Right’s business. The Settling Parties acknowledge and agree that liability for the actions that

      are the subject matter of this Agreement are denied and disputed by Defendants.                 This

      Agreement and the settlement are a compromise and shall not be construed as an admission of

      liability at any time or for any purpose, under any circumstances, by the Settling Parties to this

      Agreement. The Settling Parties further acknowledge and agree that this Agreement and the

      settlement shall not be used to suggest an admission of liability in any dispute the Settling Parties

      may have now or in the future with respect to any person or entity. Neither this Agreement nor

      anything herein, nor any part of the negotiations had in connection herewith, shall constitute

      evidence with respect to any issue or dispute other than for purposes of enforcing this


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        Agreement.

VIII.          MODIFICATION OF AGREEMENT

               This Agreement may not be modified or amended except in writing, signed by the

        affected Settling Parties or the respective counsel of record for the Settling Parties and as

        approved by the Court.

 IX.           CONSTRUCTION AND INTERPRETATION

               A.      Entire Agreement. This Agreement constitutes the entire agreement between the

        Settling Parties with respect to the subject matter contained herein and shall supersede all prior

        and contemporaneous negotiations between the parties.

               This Agreement shall be construed as a whole according to its fair meaning and intent,

        and not strictly for or against any party, regardless of who drafted or who was principally

        responsible for drafting this Agreement, or any specific term or condition thereof. The Current

        Plaintiffs and Defendants participated in the negotiation and drafting of this Agreement and had

        available to them the advice and assistance of independent counsel. As such, neither the Current

        Plaintiffs nor Defendants may claim that any ambiguity in this Agreement should be construed

        against the other.

               B.      No Reliance on Representations or Extrinsic Evidence.        Except as expressly

        provided herein, this Agreement has not been executed in reliance upon any other oral or written

        representations or terms, and no such extrinsic oral or written representations or terms shall

        modify, vary or contradict its terms. In entering into this Agreement, the Settling Parties agree

        that this Agreement is to be construed according to its terms and may not be varied or

        contradicted by extrinsic evidence.



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             C.      Controlling Law. This Agreement shall be subject to, governed by, construed,

      enforced and administered in accordance with the laws of the State of Colorado, both in its

      procedural and substantive aspects, and without regard for the principle of conflict of laws, and

      shall be subject to the continuing jurisdiction of the United States District Court for the District

      of Colorado.

             D.      Severability. If any provision of this Agreement is held by a court of competent

      jurisdiction to be void, voidable, unlawful or unenforceable, except the Release, the remaining

      portions of this Agreement will remain in full force and effect to the extent that the effect of the

      Agreement remains materially the same and the obligations of the Settling Parties remain

      materially the same.

 X.          COUNTERPARTS

             This Agreement, any amendments or modifications to it, and any other documents

      required or contemplated to be executed in order to consummate this Agreement, may be

      executed in one or more counterparts, each of which shall be deemed an original of this

      Agreement. All counterparts of any such document together shall constitute one and the same

      instrument.    A photocopy, facsimile, or digital image of an executed counterpart shall be

      enforceable and admissible as an original.

XI.          BINDING EFFECT

             This Agreement is binding upon and shall inure to the benefit of the Settling Parties to

      this Agreement. Without limiting the foregoing, this Agreement specifically shall inure to the

      benefit of Simply Right as well as its present and former owners, stockholders, predecessors,

      successors, joint ventures, assigns, agents, directors, officers, board members, employees,



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        representatives, insurers, attorneys, parents, subsidiaries, affiliated divisions and companies, and

        all persons acting by, through, under or in concert with any of them. Also without limiting the

        foregoing, this Agreement shall be binding upon and inure to the benefit of the heirs, assigns,

        administrators, executors, beneficiaries, conservators, and successors of all Current Plaintiffs and

        Qualified Claimants.

XII.           ATTORNEY FEES, COSTS AND EXPENSES

               Except as otherwise specifically provided herein, the Settling Parties and all Qualified

        Claimants shall bear responsibility for their own attorneys’ fees, costs and expenses, taxable or

        otherwise, incurred by them or arising out of this litigation and shall not seek reimbursement

        thereof from any party to this Agreement. However, in the event of any dispute to enforce the

        terms of this Agreement, the prevailing party shall be entitled to an award of their reasonable

        attorneys’ fees and costs from the non-prevailing party.

XIII.          AUTHORITY OF COUNSEL

               A.      Facsimile, Electronic, and Email Signatures. Any Settling Party may execute this

        Agreement by signing or by causing its counsel to sign on the designated signature block below

        and transmitting that signature page via facsimile, email, or other electronic means to counsel for

        the other Settling Party. Any signature made and transmitted by facsimile, email, or other

        electronic means for the purpose of executing this Agreement shall be deemed an original

        signature for purposes of this Agreement and shall be binding upon the Settling Party whose

        counsel transmits the signature page by facsimile or email.




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              B.      Voluntary Signature.       All Settling Parties agree that they have signed this

       Agreement, or authorized their counsel to sign this Agreement on their behalf, knowingly,

       voluntarily, with full knowledge of its significance, and without coercion.

              C.      Warranty of Counsel.       Plaintiffs’ Counsel warrants and represents that he is

       expressly authorized by the Current Plaintiffs to take all appropriate action required or permitted

       to be taken pursuant to this Agreement in order to effectuate its terms. Defendants’ Counsel

       warrant and represent that they are authorized to take all appropriate action required or permitted

       to be taken by Simply Right pursuant to this Agreement in order to effectuate its terms.

XIV.          CONTINUING JURISDICTION

              The Parties hereto agree to move for the United States District Court for the District of

       Colorado to retain continuing jurisdiction to construe, interpret and enforce the provisions of this

       Agreement; to supervise the administration and distribution of the resulting settlement funds; and

       to hear and adjudicate any dispute or litigation arising from or related to this Agreement or the

       issues of law and facts asserted in the collective action litigation.

XV.           EFFECT OF NON-APPROVAL

              In the event that the Agreement is not approved by the Court for any reason in the form

       submitted by the Settling Parties, the Settling Parties will attempt to address any concerns raised

       by the Court and resubmit a revised settlement agreement if possible. If the Settling Parties

       cannot agree on a revised settlement agreement or if the Court denies the approval of a

       renegotiated settlement agreement, this Agreement or the re-negotiated agreement shall be

       terminated as of the date the Court’s order denying approval of the Agreement or renegotiated

       agreement was entered. Upon termination of this Agreement or any renegotiated agreement:



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